               Case 24-11751-LMI       Doc 23        Filed 05/21/24   Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA

In re:   Hector Roque                                            Case No.: 24-11751-LMI
                                                                 Chapter 13
                 Debtor(s)                       /

     NOTICE OF COMPLIANCE BY ATTORNEY FOR DEBTOR WITH LOCAL RULE
                  2083-1(B) CLAIMS REVIEW REQUIREMENT

       The undersigned attorney for debtor certifies that a review of the claims register
and all claims filed in the above referenced case has been completed in accordance
with Local Rule 2083-1(B) and that:

1)             No further action is necessary.

2)       The following actions have been taken:

               The debtor has filed an objection to the proof of claim filed by
                #4 Matrix Financial Services Corporation
               c/o Sokolof Remtulla, PLLC       .

               The debtor has filed a                amended plan or modified plan to provide
               for the proof of claim filed by                                             .

               Other:

                                                                                            .

      A copy of this certificate of compliance was served on the chapter 13 trustee via
the NEF and the debtor via U.S. Mail on May 21, 2024           .
                                           Respectfully Submitted:
                                           /s/ Jose A. Blanco | 062449
                                           JOSE A. BLANCO, P.A.
                                           102 E 49th ST
                                           Hialeah, FL 33013
                                           Tel: (305) 349-3463
                                           Fax: (786) 567-5057
                                           E-Mail: jose@blancopa.com
